Case 22-50073          Doc 293        Filed 04/29/22        Entered 04/29/22 13:54:48              Page 1 of 3




                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                         BRIDGEPORT DIVISION
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
           Ho Wan Kwok,                                             : Case No. 22-50073 (JAM)
                                                                    :
                                                                    : Re: ECF No. 86
                                 Debtor.                            :
                                                                    :
--------------------------------------------------------------------X

       ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF BROWN
      RUDNICK LLP AS COUNSEL TO DEBTOR AND DEBTOR IN POSSESSION

        Upon the application of Mr. Ho Wan Kwok (the “Application”), 1 as debtor and debtor in

possession in the above-captioned Chapter 11 case, pursuant to title 11 of the United States Code,

11 U.S.C. §§ 101-1330, as amended (the “Bankruptcy Code”), for authorization to employ Brown

Rudnick LLP (“Brown Rudnick”) as his bankruptcy counsel effective as of the Petition Date, as

more fully set forth in the Application; and upon the annexed affidavit of William R. Baldiga,

Esquire, a partner of Brown Rudnick (the “Baldiga Affidavit”); and the Court being satisfied,

based on the representations made in the Application and the Baldiga Affidavit, that Brown

Rudnick does not represent or hold any interest adverse to Mr. Kwok or his Chapter 11 estate as

to the matters upon which it is to be engaged and is a “disinterested person” under 11 U.S.C. §

101(14), as modified by 11 U.S.C. § 1107(b), and that the employment of Brown Rudnick is

necessary to Mr. Kwok (“Debtor”) and his Chapter 11 estate; and the Court having jurisdiction to

consider the Application and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334; and after due deliberation and sufficient cause appearing therefore after the hearing held

on April 27, 2022:


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    Capitalized terms not otherwise defined herein shall have the meanings ascribed in the Application.
Case 22-50073        Doc 293         Filed 04/29/22   Entered 04/29/22 13:54:48         Page 2 of 3




          IT IS HEREBY ORDERED THAT:

          1.   That the Application is granted and approved subject to the terms and limitations

herein.

          2.   Pursuant to Sections327(a) of title 11 of the United States Code, 11 U.S.C. §§ 101,

et seq. (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 2014-1 of the Local Bankruptcy Rules for the District of

Connecticut (the “Local Rules”), the Debtor, is authorized to employ and retain Brown Rudnick

as his counsel to perform the services as set forth in the Application and the Baldiga Affidavit,

effective as of the Petition Date.

          3.   Notwithstanding any provision of the Engagement Agreement, any dispute

concerning the performance of services by Brown Rudnick pursuant to the Engagement

Agreement shall be governed by and construed in accordance with the laws of the State of

Connecticut.

          4.   Notwithstanding the Engagement Agreement and the Client Engagement Terms

incorporated therein, Brown Rudnick will not, during the pendency of the chapter 11 case,

represent any client that is adverse to the Debtor or the estate, and that the conflicts section in the

Client Engagement Terms at ECF 142 at pages 21-23 does not, during the pendency of the chapter

11 case, supersede, override, waive, or negate the obligations the Debtor has to the estate, the

obligations Brown Rudnick has to the Debtor and the estate in the role as chapter 11 counsel to the

Debtor, nor the professional responsibilities Brown Rudnick has and owes to the Debtor.

          5.   Notwithstanding the Engagement Agreement and the Client Engagement Terms

incorporated therein, Brown Rudnick shall be compensated on an hourly basis, with

reimbursement of expenses, in accordance with the procedures set forth in Sections 330 and 331



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Case 22-50073            Doc 293     Filed 04/29/22    Entered 04/29/22 13:54:48       Page 3 of 3




of the Bankruptcy Code and such Bankruptcy Rules, Local Rules of the District of Connecticut

and guidelines established by the Office of the United States Trustee as may then be applicable,

from time to time, and such other procedures as may be fixed by order of this Court. Brown

Rudnick shall not be entitled to interest on fees awarded by Court.

         6.       Ten business days’ notice must be provided by Brown Rudnick to the Debtor, the

United States Trustee and any official committee prior to any increases in the rates set forth in the

Application, and such notice must be filed with the Court.

         7.       The Debtor is authorized and empowered to take all actions necessary to implement

the relief granted in this Order.

         8.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         9.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation and enforcement of this Order.


                 Dated at Bridgeport, Connecticut this 29th day of April, 2022.




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